Case 18-10502-reg Doc 10-1 Filed 04/17/18 Page 1 of 10

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MIN:

Lc) N mber:
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(LlBOR $ix-Nlonth index (As Posted By Fannie Nlae) - Rate Caps)

 

THIS NDTE CONTAINS PROWSIONS ALLOWlNG FOR CHANGES IN MY INTEREST
RATE AND MY MONTHLY PAWENT. THIS N{]TE LIMFTS THE AMOUNT MY

INTEREST RATE CAN CHANGE A'I` ANY ONE TIME AND THE MAXIMUM RA']`E I
MUST PAY.

JANUARY 26, 2007 FDIlL Wayn& INDIANA
[Dnte] ICilyI [State|

4620 ANGLBRS .`LtANE, F<Drl; ltllayl'le, Il'ldial'l&l QGBOB
lProperry Address}

1. BORROWER‘S PRON||SE TO PAY
ln return for a loan that l have received. I promise to pay U.S. $ 88 , B 0 0 . 00 (this amount is

called "Principal"]‘ plus interest. to the order of Lencier. Lenderis INVESTAID CORPORATION, A
MICHIGAN CORPORATION

l will make all payments under this Note in the form ol`cash. check or money ot'tler.

l understand that Lender may transfer this Note. lender or anyone who takes this Note by transfer and who is
entitled to receive payments under this Note is called the "Note Holder."

2. |NTEREST

lnterest will be charged on unpaid principal until the lull amount of Princlpal has been paid. l will pay interest
at a yearly rate ol` 10 .040 %. The interest rate I will pay may change in accordance with Section 4 otthis
Nole`

The interest rate required by this Section 2 and Section 4 ofthis i\`ote is the rate l will pay both before and after
any default described in Section T(B) of this Note.

3. PAYMENTS

(A} Time and Plat:e of Payments

l will pay principal and interest by making a payment every month.

l will make my monthly payments on the 1 Sl; day of each month beginning on MARCH l ,
2 007 . l will make these payments every month until I have paid all of the principal and interest and any other
charges described below that l may owe under this l\`ote. Each monthly payment will he applied as of its scheduled
due date and will be applied to interest before Principal. li`, nn FEBRUARY l , 2037 , l still owe
amounts under this Note, l will pay those amounts in full on that dalel which ls called the "Maturity Da!e."

l will make my monthly payments at 2 4 4 00 NORTHWESTERN HWY STB. 2 00 ,

SOUTHFIELD , MICHIGAN 48 0 7 5

or at a different place if required by the Nole Holtier.

{B} Antouut of My Inltial Monthly Payments

Each of my initial monthly payments will be in the amount of U.S. 3 ?81 . 91 , This amount
may change

{C) Montlily Payment Changea

Changes in my monthly payment will reflect changes in the unpaid principal of my loan and in the interest rate
that I must pay. The Nole Holder will determine my new interest rate and the changed amount of my loomiin
payment in accordance with Section 4 of this i\'ote.

 

llr‘|LJLT|STATE ADJUSTABLE RATE NOTE--L|BOR SlX-MONTH iNDEX , c...... ».,.¢ . .,..‘
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Case 18-10502-reg Doc 10-1 Filed 04/17/18 Page 2 of 10

 

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4. lNTERE$T` RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates
'l`he interest rate I will pay may change on the let day of FEBRUARY , 2 0 1 0 . and on

that day every 6th month thereafter. Each date on which my interest rate could change is called a "Change
Date."

[B] The Index

Beginning with the first Change Date, my interest rate will be based on an lndex. rl`he “lndex" is the average
ofinterbanlt offered rates for six month U_S. dollar-denominated deposits in the London market based on quotations
of major banks, as posted by Fannie Mae through electronic transmission or by telephone or both through electronic
transmission and by telephone The most recent lodex figure available as of the dale 45 days before each Change Date
is Ca]letl the "Current lntlex."

ll the lndex ls no longer available. or is no longer posted either through electronic transmission or by telephone,
the Note Holder will choose a new index that is based upon comparable information The Note Holrler will give me
notice of this choice

(C) Calculation ofChanges

Belure each Change Da|e, the Note I~Iolder will calculate my new interest rate by adding SEVEN AND
040/ 10 00 percentage points [ 7 . 04 0 %] to the Current lotlex. The Note
Holder will then round the result ofthis addition to the nearest one-eighth ofone percentage point (0,125%). Subject
to the limits stated in Section 4[D) below, this rounded amount will henry new interest rate until the next Change
Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the
unpaid principal that l am expected to owe at the Change Date in full on the Malurity Date at my new interest rate
in substantially equal payments ']`he result of this calculation will be the new amount of my monthly payment

[D) Lirnits on Interest Rate Changes

The interest rate l am required to pay at the first Change Date will not he greater than 13 . 04 0 % or
less titan 10 . 04 0 %. Tltereafter, my interest rate will never be increased or decreased on any single Change
Date by more Iltarl ONE P.ND 000/ 1 000 percentage point[s) { l . 000 %)

from the rate ofirtterest l have been paying l`or the preceding 6 montlts. My interest rate will never be greater
than 17 . 040 %. My interest rate will never be less than 10 . 040 %.

(E) Efl`ectlve Date ol` Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new monthly
payment beginning on the first monthly payment date after the Change Date until the amount of my monthly payment
changes again.

(F) Notice of Changes

The i\'ote l'loh.ter will deliver or mail to me a notice ol` any changes in my interest rate and the amount of my
monthly payment before the effective date of any cllange. Tlte notice will include information required by law to be
given to me and also tlte telephone number of a person who will answer any questionl may have regarding the ootice.

5. BORROWER'S RlGHT TO PREPAY ** See attached Prepayment Not:e Aclciendin'n.

l have the right to make payments ol` Prirtcipat at anytime before they are due. A payment of Principa] only
is known as a "Prepayment." When l make a Prepayment, [ will tell the Note Holder in writing that l am doing so.
l may not designate a payment as a Prepayrnent ill have not made all the monthly payments due under this Note.

l may make a full Prepayment or partial Prepaymcnts without paying any Prepayrnent charge. The Note Holder
will use my Prepayments to reduce the amount of Prlocipal that I owe under this Note. However, the Note Holder
may apply my Prepayrnent to the accrued and unpaid interest on the Prepayroent amount before applying my
Prepayment to reduce the Principal amount of this Note. lf I make a partial Prepayment. there will be no changes
in the due dates of my monthly payments unless the Note Holder agrees in writing to those changes My partial
Prepayroent may reduce the amount of my monthly payments after the first Change Date following my partial
Prepayment, tioweverl any reduction due to my partial Prepaymenl may be offset by an interest rate increase

 

MULTlSTATE ADJUSTABLE RATE NOTE--L|BDR SlX-MONTH |NtJF_}< Fonn 3518 1t01
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Case 18-10502-reg Doc lO-l Filed 04/17/18 Page 3 of 10

6. LO'AN CHARGES

ti' a law. winch applies to this loan and which sets maximum loan chargesl is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted litnits,
then: [a] any such loan charge shall be reduced by the amount necessary to reduce the charge to tlte permitted |itnit;
and fbi any sums already collected front me that exceeded permitted limits will be refunded to me. 'l`lte Note Hn]der

may choose to make this refund by reducing the Princlpal l owe uttder this Note or by making a direct payment to
me. ifa refund reduces Pi'incipall tlte reduction will be treated as a partial Prepayment.

7. BORROWER'S FA|LURE TO PAY AS REQUIRED
(A] Late Chargea for '[}verdue Paymt'.'xtts
lf the Note Holder has not received the full amount of any monthly payment by the end of 15
raleith days after the date lt is due. l will pay a late charge to the Note Holder. The amount of the charge will be

5 . 00 0 % of my overdue payment of principal and interest l will pay this late charge promptly but only
once on each late payment

(B) [lefault

Ifl do not pay the full amount of each monthly payment on tlte date il is due, l will be in default

[C] Notit:e of Def`atllt

Ifl am in default tlte Note Holder may send me a written notice telling me that ifl do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of Prittcipal that has
not been paid and all the interest that l owe on that amount 'l`hat date must be at least 30 days after the date on which
the notice is mailed to me or delivered by other meansr

{D) No Waiver By Note Holcler

Even if. at a time when l am in default the Note llohier does not require me to pay immediately in lfull as
described above. the Note Hotder will still have the right to do so il"l am in default at a later time.

{E] Payrnent of Note Holder's Costs and Expenses

if the Note llolder has required me to pay immediately in full as described abnve, ttte Note Holder will have
the right to be paid back by me for all oflts costs and expenses in enforcing this Note to the extent not prohibited by
applicable iaw. Those expenses include, for exa:rnplel reasonable attorneys' fees

8. GlVlNG OF NOT|CES

Unless applicable law requires a different method, any notice that must be given to me under this No|e will be
given by delivering it or by mailing it by first class mail to me at the Property Atldress above or at a different address
ifi give the Nnte l-lolder a notice of my different address

llnless the Note Holder requires a different method. any notice that must be given to the Nole Holder under this

Note will be given by mailing it by first class mail to the Note Holder at the address stated in Sectlon 3(A) above or
at a different address ifl atn given a notice of that different address.

9. OBLlGATiONS OF PERSONS UNDER TH|S NOTE

tfmore titan one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note. including the promise to pay the full amount owed. Any person who is a guarantor, surety or
endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including
the obligations ofa guarantorl surety or endorser of this Note. is also obligated to keep all of the promises made in
this i\.lote. The Note Holder may enforce its rights under this Note against each person individually or against all of
us together Tbts means that any one of us may be required to pay all of the amounts owed under this Note.

10. WAIVERS
l and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice

of Dishonor" means the tight to require the Note Holder to give notice to other persons that amounts due have not
been paid.

 

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Case 18-10502-reg Doc lO-l Filed 04/17/18 Page 4 of 10

E)<hibl`l A .

11. UNlFDRN| SECURED NOTE

This Note is a uniform instrument with limited variations in somejurisdictions. in addition to the protections
given to the Note Hoider under this Note, a Mortgage, Deed ofTrust, or Security Deed title “Security lastrument“},
dated the same date as this Notel protects the Note Holder from possible losses that might result it't do not keep the
promises that l make in this Note. Thal Secun'iy ]nslrurnent describes how and under what conditions l may be
required to make immediate payment in full of all amounts I owe under this Nole. Sorne of those conditions read as
follows:

 

Transfer of the Propet'ty or a Beneficial Interest in Borrower. As used in this Section 18.
"lnterest in the Property" means any legal or beneficial interest initio Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract
or escrow agreement, the intent ofwhich is the transfer of title by Borrower at a future date to a porchaser.

If all or any part of the Property or any Inlerest in the Property is sold or transferred {orti'Borrower
is not a natural person and a beneficial interest in Bortower is sold or transferred} without Lender's prior
written consent. Lender may require immediate payment in full oi` all sums secured by this Security
lnstrument. I'[owever. this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be submitted to
Lender information required by Lender to evaluate the intended transferee as ita new loan were being
made to the transferee; and [h] I_ender reasonably determines that l_,ender's security will not be impaired
by the loan assumption and that the risk of a breach of any covenant or agreement in this Security
instrument is acceptable to Lenrler.

To the extent permitted by Applicabie Law, Lende.r may charge a reasonable fee as a condition to
Lender's consent to the loan assumption Lenticr also may require the transferee to sign an assumption
agreement that is acceptable to l,ender and that obligates the transferee to keep all the promises and
agreements made in the Note and in this Secnrity lnstroment, Borrower will continue to he obligated
under the Note and this Security lnstrument unless bender releases Borrower in writing

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower
notice of accelerationl The notice shall provide a period oinot less titan 30 days from the date the notice
is given in accordance with Section 15 within which Borrower must pay alt sums secured by this Security
Instrument. If Borrower fails to pay these sums prior to the expiration ofthis period, Lender may invoke
any remedies permitted by this Security instrument without further notice or demand on Borrower.

 

MUL`|'|STATE ADJUSTABLE RATE NOTE--LIEOR SlX'MONTi-t |NUEX __ Fonn 351B ‘|tG`l
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Case 18-10502-reg Doc lO-l Filed 04/17/18 Page 5 of 10

Exhibit A .

You are not obligated to pay any money unless you sign this
contract and return it to the Sellerr'Lcnder'.

WI'I`NESS THE HAND{S] AND SEAL[S] 01`~` THE UNDERSIGX'ED.

 

.CARO L EASTE RDAY g

 

 

 

 

 

 

 

 

(Seal) {Seal)
-Borrower -Borrower
(Seat) (Seat]
-Borrower -Borrower
(Seal} .. (Seal)
-Borrower -Borrower
FAY TO TH§ ORDER OF
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E`*' s cna
near vice President Secondarv Ml'tfe-
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Case 18-10502-reg Doc 10-1 Filed 04/17/18 Page 6 of 10

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IDEF' 2.00
HGFF 0.50
_ HEST 2.50
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After Recording Retum To: him 42.00
INVESTAID CORPORATION Totai 51.00

24315 NORTHWESTER.N HWY STE.`. 100
SOUTHFIELD, MICHIGAN 480'?5
Lcan Nurnber:

 

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DEFINIT|ONS

Words used in multiple sections of this document are defined below and other words are defined in Seetions 3, ll,
13, JB, 20 and 21. Certaln rules regarding the usage of words used in this document are also provided in Section lG_

(A} "Security Instrumeot" means this document, which is dated JAN'LTARY 26, 200'?' . together
with all Rlders to this doeument.

(B] "Borrower"is CAROL EASTERDAY SINGI.,E WOMAN

Borrower is the mortgagor under this Seeurlty Instroment_

[C) “MERS" is Mortgage Electronic Registratlon Syslems, Tno. MERS is a separate corporation that is acting
solely as a nominee for I_ender and Lender‘s successors and assigns MERS is the mortgagee under this Seenri!y
Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number
of P.O. Bo.\r 2026, E`iint, MI 48501-2026. tel. [SBS) GTQ'MERS.

{D) "Lender" is INVESTAID CORPOP&TIO.N

Lender isa MICHIGAN CORPORATIOI\T

 

 

organized
and existing under the laws of MICHIGAN

Lendcr's address is 2 43 1 5 NORTHWESTE`.RN HWY STE , l 0 0 , SOUTI-IFIELD,
M_`[CHTGAN 48075

lND|ANA~S` l‘ F `l --F ` N| ‘!F dd` M UN|FURM |NSTRUMENT - |VlERS .
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Case 18-10502;reg Doc 10-1 Filed 04/17/18 Page 7 of 10

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(E) "Note" m‘eans the promissory note signed by Borrower and dated JANUARY 2 6, 20 D'?

The Note states that Borrower owes Lertder EIGHTY-EIGHT THOUSAND EIGHT HUNDRED

AND 0 0/100 Dollars {U.S. $ 38 , 8 0 0 . 0 0 ) pitts interest
Bori'ower has promised to pay this debt in regular Periodic Paytnents and to pay the debt in full not later than
FEBRUARY ftf 2037 .

(F) "Property" means the property that is described below under the heading "Transfer of Rigltts in the Property."
(G] "Loan" means the debt evidenced by the Note. plus interest, any prepayment charges and late charges due under
the Note. and all sums due under this Securlty Instrument. plus interest.

[H] "Riders" means all Rtrlers to this Security Instrument that are executed by Borrower. The following Riders are
to be executed by Borrower [chcck box as applicable]:

|X] Adjustablc Rate Rider |:l Pianned Unit Development Rider
|:| Balioon Rlder |:] Biweek]yPaymentRider

[:`_f 1-4 Family Rider [:] Secooci Home Rider

l:] Condorniniutn Rider |E Other(s) [specifyi

PREPAYMENT RIDER 'I`O SE`CURITY INST

(I) "Applicable Law" means all controlling applicablel`ederal. state and local statutes, regulations ordinances and
administrative rules and orders (lhat have the effect of |aw} as well as all applicable final. non-appealable judicial
opinions -

L]) "Community Association Dues. Fees, and Assessments" means all dues, fees. assessments and other charges
that are imposed on Borro'.ver or the Property by a condominium association. homeowners association or similar
organization

(K) "Electronic Funds Transfer" means any transfer of funds. other than a transaction originated by checlt, draft,
or similar paper instrument, which is initiated through an electronic terminal. telephonic lnstrument. computer. or
magnetic tape so as to order, instruct. or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to. point-of-sale transfersl automated teller machine transactioos. transfers initiated by
telephone, wire transfers. and automated clearinghouse transfers

{L} '*Escrow Items" means those items that are described in Sectlon 3.

(M) "Mist:ellaneous Proceeds" means any compensation settlement. award of damagesl or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for: {i) damage to, or
destruction of. the l"roperty: {ii) condemnation or other taking of all or any part of the Properly; [iii} conveyance in
lieu of condemnation; or tiv) misrepresentations of, or omissions as to. the value andfor condition of the Propcrty.
(N} "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
(O] "Periodic Payment" means the regularly scheduled amount due for (i] principal and interest under the Note,
plus (ii) any amounts under Sec.tion 3 of this Security lnslruntent.

(P) "RESPA" means the Real Estate Settlente.nt Procedores Act {12 U.S.C. §2601 et seq.) and its implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security Instruntent,
"RESPA" refers to ali requirements and restrictions that are imposed in regard to a "federally reiated mortgage loan"
even if the Loan does not qualify as a "federally related mortgage |oan" under RESPA.

(Q} "Successor in Interest of Borrower" means any party that has taken title to the Property. whether or not that
party has assumed Borrower's obligations under the Note auditor this Securiry ]nstrument.

 

|ND|ANA--Bt'n le Fami|y~-Fannie MaeIFreddie Mac UNIFOR|V| |NSTRUMENT - MERS DocMagtc aim acres-ramey
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Case 18-10502-reg Doc 10-1 Filed 04/17/18 Page 8 of 10

'Ext_nbit B

TRAN$FER OF R|GHTS |N THE PROPERTY

This Security Instrurnent secures to Lender: {i) the repayment oi` the Loan, and all renewais. extensions and moditi nations
of the Note; and (iil the performance of Botrower`s covenants and agreements under this Security instrument and the Note.
For this purpose, Borrower does hereby mongage, grant and convey to MERS isoler as nominee for lender and Lender's
successors and assigns) and to the successors and assigns of MERS the following described property located in the

CO UNTY of Al l err

fl'ype of Reeording ]nrisdictioul [l\.`ame ot`Recordlng _|un'sdtction|
LOT 20 IN MORGAN CREEK, SECTION I, AS RECORDEZD IN PLAT CABINET

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which currently has the address of 4 62 0 ANGLERS LANE
[Streetl
Fort Wayne ,Indiana 46808 l"Property Address"):
lCiryt [ztp canal

Instrument. but, if necessary to comply with law or custom, MERS las nominee for Lender and Lender's successors
and assigns) has the right: to exercise any or all ofthose interests, includingl but not limited to, the right to foreclose
and sell the Property: and to take any action required of Lender including but not limited to, releasing and canceling
this Securify Instrumenl.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
lo mortgagel grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record Borrowervvarrants and will defend generally the title to the Property against all claims and demandsl subject
to any encumbrances ot` record.

’i`HlS SECURITYINSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations byjurisdiction to constitute a uniform security instrument covering real property

UN|FORM COVENANTS. Borrower and i_ender covenant and agree as follows:

1. Payment of Principal, lnterest, Escrow Iterns, Prepayment Charges. and Late Charges. Borrower shall
pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late
charges due under tlte Nnte. Borrower shall also pay funds for Escro\v Items pursuant to Section 3. Paymenls due
under the Note and this Security Instrurnent shall be made in U.S. currency. HoweverI if any check or other
instrument received by Lender as payment under the Note or this Security instrument is returned to Lender unpaidl
Lender may require that any or all subsequent payments due under the Note and this Security lnstrttment be made in
one or more ofthe following forms, as selected by Lender: [a) cash; [b) money order; (c] certified check. bank check,
treasurer's checker cashier's check, provided any such check is drawn upon an institution whose deposits arc insured
by a federal agency, instrunientality, or entity; or (d) Electronic Funds Transl`er.

Payrnents are deemed received by Lender when received at the location designated in the Note or at such other
location as maybe designated by Lender in accordance with the notice provisions in Section 15. Lender may return

 

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Case 18-10502-reg Doc lO-l Filed 04/17/18 Page 9 of 10

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any payment or`partial payment if the payment or partial payments are insufficient to bring tlte Loan current Lender
may accept any payment or partial payment insufficient to bring the Loau current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future. but Lender is not
obligated to apply such payments at the time such payments are accepted If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied funds Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current lf Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower. lf not applied earlier, such funds will he
applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
under the Note and this Security lnstrurnent or performing the covenants and agreements secured by this Secnrity
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall he applied tn the following order of priority: (a) interest due under tlte Note;
fbi principal due under the Nolo; tel amounts due under Section 3. Snctr payments stratton applicant each Pt.-rindin
Payment in the order in which it became due. Any remaining arnounts shall he applied first to late charges, second
to any other amounts due under this Security Instt~ument, and then to reduce the principal balance of the Note,

lf Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge duc. the payment may be applied to the delinquent payment and the late charge ll
more than otte Periodic Payment is outstanding Lender may apply any payment received from Borrowcr to the
repayment of the Periodtc Payments it`, and to the extent t|tat. each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may
be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
as described in the l\'ote.

Any application of paymentsl insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount. of tlte Periodic Payments.

3. Funds for Escrow Iterns. Bor'rower shall pay to Lender on the day Periodlc Payments are due under the
Note, until the l\‘ote ts paid in full, a sum {the "Funds") to provide for payment of amounts due for: [a) taxes and
assessments and other items which can attain priority over this $ecurity Inerutnent as a lieu or encumbrance nn the
Property; (b] leasehold payments or ground rents on the Property, if any; {c) premiums for atty and all insurance
required by Lender under Sectiou 5; and [d} Mortgage insurance premiums, if any. or atty sums payable by Borrnwer
lo Lender in lieu of the payment of Mortgage lnsurance premiums in accordance with the provisions of Section ltl.
'l`hese items are called "Escrow lteros. " At origination or at any time during the term of the Loan. Lender may require
that Communlty Association Dues, Fees, and Assessments, if`any. be escrowed by Bnrrower, and such tlues, fees and
assessments shall he an Escrow ltem. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under tlu's Section. Borrower shall pay Lender the Funds for Escrow ltems unless Lender waives Borrower's
obligation lo pay the Funds for any or all Escrow ltems. Lender may waive Borrower's obligation to pay to Lender
Funds for any or all Escrow items at any tinte. Any such waiver may only hein writing. In the event ofsuch waiver,
Borrower shall pay dlrectly, when and where payable, the amounts due for any Escrow ltetns for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Securlty lnstrument, as the phrase
"covenant and agreentent" is used in Sectlon 9. lt`Borrower is obligated to pay Escrow ltcms dlrectly, pursuant to
a waiverl and Borrower fails to pay the amount due for an l:`scrow itent, Lender may exercise its rights under Sectton
9 and pay such amount and Borrower shall then be obligated under Section 9 to repay lo Lender any such nntount.
Lender may revoke the waiver as to atty or all E.scrow lterns at any time by a notice given in accordance with Section
15 and. upon such revocation, Borrower shall pay to Lender all Funds, and in such antounts, that are then required
under this Sectlou 3. _

Lender may. at any t.ime, collect and hold l-`unds in an amount (a) sufficient to permit Lender to apply the l~`unds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA_
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of`expenditures
of future Escrow ltems or otherwise in accordance with Applt`cahle Law.

 

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Case 18-10502-reg Doc lO-l Filed 04/17/18 Page 10 of 10

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The Funds shall be held in an institution whose deposits are insured by a federal agency. instrumentality. or
entity iinctuding Lender. if` Lender is an institution whose deposits are so insurcd) or in any Federal Home l,oan
Banlt, Lender shall apply the Funds to pay the Escrow items no later than the time specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds. annually analyzing the escrow account. or verifying
the Escrow ltents, unless Lender pays Borrower interest on the Funds and Appllcable Law permits Lender to make
such a charge. Unless an agreementis made in writing or Appticable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
iu writing. however. that interest shall be paid nn the Funds. Lender shall give to Borrower. without charge, an
annual accounting of the Funds as required by RESPA.

if there is a surplus of Funds held in escrow, as defined under RESPA. Lender shall account to Borrower for
the excess funds in accordance with RESPA. if there is a shortage of Funds held in escrow, as defined under RES,PAl
Lender shall notify Borrower as required by RESPA, and Borrowershall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments lfthere is a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA. but in no more than
12 monthly payments

Upon payment in full of`all sums secured by this Security lnstrument. Lendershall promptly refund to Borrower
any Funds held by Lender.

4. Charges; Liens. Borrower shall pay ali taxes. assessments, chorges, i`tnes, and impositions attributable to
the Property which can attain priority over this Security lnstrument, leasehold payments or ground rents on the
Property. if any, and Community Assnciatton Dues‘ Fees, and Assessrnents, if aoy. To the extent that these items
are Escrow ltems, Bot“rower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrurnent unless Borrower:
{a} agrees in writing to the payment ofthe obligation secured by the lien in a manner acceptable to Lender. but only
so long as Borrower is performing such agreement: [b] contests the lien in good faith by. or defends against
enforcement of the lien in, legal proceedings which in Lender‘s opinion operate to prevent the enforcement ofthe lien
while those proceedings are pendingI but only until such proceedings are conclutied; or (c) secures from the holder
of the lien an agreement satisfactory lo Lender subordinating the lien to this Security lnstrument, if Lender
determines that any part of the Property is subject to a lien which can attain priority over this Security lnslrument,
Lender may give Borrower a notice identifying the lien. Wilhin 10 days of the date on which that notice is given,
Bozrower shall satisfy the lien or take one or more of the actions set forth above in this Sectiun 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification andt'or reporting service
used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by tire, hazards included within the term "extended coverage, " and any other hazards
including. but not limited tu, earthquakes and floods. for which Lender requires insurance This insurance shall be
maintained in the amounts (inciuding deductible ievels) and for the periods that Lender requires What Lender
requires pursuant to thc preceding sentences can change during the term ofthe Loan. The insurance carrier providing
the insurance shall be chosen by Borrower subject to Lender'sright to disapprove Borrower's choice, which right shall
not be exercised unreasonably Lender may require Borrower to pay, in connection with this Loan, eithcr: (a) a one-
time charge for flood rcone determination, certification and tracking services; or (b) a one~time charge for flood anne
determination and certification services and subsequent charges each time rentappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the payment of
any fees imposed by the Federal Etnergcncy Management Agency in connection with the review of any flood zone
determination resulting front an objection by Borrower.

If Borrower fails to maintain any of the coverages described above. l_.ender may obtain insurance coverage. at
l.ender's option and Borrower's expense Lender is under no obligation to purchase any particlth type or amount
of coverage Therefore, such coverage shall cover Lenderl but might or might not protect Borrower, Borrower's
equity `Ln the Property, orthe contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously to effect. Borrower acknowledges that the cust of the insurance coverage so
obtained might signit`tcautly exceed the cost ufinsurance that Borrower could have obtained Arty amounts disbursed

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Form 3015 0 tU'l page 5 of 14

 

